      Case 1-22-11558-rmb            Doc 73     Filed 12/01/22 Entered 12/06/22 11:13:22                      Desc Main
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                                           U.S. BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WISCONSIN
                                            Honorable Rachel M. Blise
                                                 December 1, 2022
                                                Court Proceeding Memo
 1-22-11558-rmb         Jennifer McKinney and Israel R. McKinney                     Chapter 13
                                                                                     Trustee: Mark Harring
 Appearances:           Greg P. Pittman, Attorney for Debtors
                        Theresa Anzivino, Attorney for IRS
                        Leslie Broadhead Griffith, Attorney for Chapter 13 Trustee

 Matter:     Preliminary hearing on Motion by IRS for Relief from Stay (Doc # 42)
             -Obj. Debtors (Doc # 61)

 Court Minutes: Counsel for the debtors and the IRS requested additional time to continue settlement discussions. The
 court adjourned the hearing to December 22, 2022, at 1:30 p.m.

OUTCOME:
    Granted                 Denied               Approved              Allowed                   Disallowed
    In Part                 Sustained            Overruled             Settled                   Withdrawn
    Other:

      Debtor shall do the following by:                                                        or the case will be dismissed
          amend plan            provide info to TR           bring current         other:

      Plan confirmed:            Ch. 13 TR            Ch. 12 Atty.           Ch. 11 Atty         to submit proposed order

SCHEDULE:
 X Adjourned to: December 22, 2022             at 1:30 p.m.
    Location:    X Telephone            Madison         Eau Claire        Other:
        Final/Evidentiary Hearing. Parties agree that            [hours/days] will be sufficient to hear the matter.
        Issue standard pre-hearing order           [Yes/No]         Other:

      Briefing Schedule Set:
           Taken under advisement                        Other:

      Other Schedule:

      ORDER:
         For the reasons stated from the bench
         Separate order to be entered by the Court
         Order to be submitted by:
         Order to be signed at docket no.




                                                                X    ECF
                                                                     cc: parties in interest
                                                                     cc: parties appearing
